     Case: 1:17-cv-03654 Document #: 27 Filed: 01/24/18 Page 1 of 1 PageID #:116


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Davis v. Ali, et al.                           Case Number: 17 CV 3654

An appearance is hereby filed by the undersigned as attorney for:
Wasam Ali

Attorney name (type or print): Michael M. Powell

Firm: The Office of the Attorney General of Illinois

Street address: 100 West Randolph Street, 13th Floor

City/State/Zip: Chicago, Illinois 60601

Bar ID Number: 6315662                                     Telephone Number: (312) 814-3846
(See item 3 in instructions)

Email Address: mpowell@atg.state.il.us

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on January 24, 2018

Attorney signature:            S/ Michael M. Powell
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
